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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      ) Chapter 11
                                                                )
    YELLOW CORPORATION, et al.,1                                ) Case No. 23-11069 (CTG)
                                                                )
                           Debtors.                             ) Jointly Administered
                                                                )


      CERTIFICATION OF COUNSEL SUBMITTING STIPULATION RELATING TO
       EXTENSION OF FACT DISCOVERY DEADLINE IN SFA MEPP LITIGATION


                 The undersigned counsel hereby certifies that:

                 1.       On or before the claims bar date, Central States, Southeast and Southwest

Areas Pension Fund (“CSPF”) and Freight Drivers and Helpers 557 Pension, International

Association of Motor City Machinists Pension Fund, Management Labor Pension Fund Local

1730, Mid-Jersey Trucking Industry & Teamsters Local 701 Pension and Annuity Fund, New York

State Teamsters Conference Pension & Retirement Fund, Road Carriers Local 707 Pension Fund,

Teamsters Local 617 Pension Plan, Teamsters Local 641 Pension Plan, Trucking Employees of

North Jersey Pension Fund, and Western Pennsylvania Teamsters and Employers Pension Fund

(collectively, the “SFA MEPPs”) collectively filed 195 proofs of claim against the above-

captioned debtors and debtors in possession (collectively, the “Debtors”) based on the Debtors’

alleged withdrawal liability, among other things (the “Proofs of Claim”).




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         A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
Park, Kansas 66211.
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               2.      On December 8, 2023, the Debtors filed an objection to CSPF’s proofs of

claim. See Objection to the Proofs of Claim Filed by the Central States Pension Fund (“First

Objection”) [ECF No. 1322].

               3.      On January 26, 2024, the Debtors filed an objection to the SFA MEPPs’

proofs of claim. See Second Omnibus (Substantive) Objection to Proofs of Claim For Withdrawal

Liability (“Second Objection,” and together with CSPF Objection, the “Objections”) [ECF No.

1962].

               4.      On February 14, 2024, the Court entered an agreed scheduling order that

Debtors, CSPF, and the SFA MEPPs submitted in connection with the Objections to establish

deadlines for fact discovery, expert discovery, pre-trial briefing and motions, and trial. See Order

Scheduling Certain Dates and Deadlines in Connection with the Debtors’ Objections to Proofs of

Claim Filed by the Pension Funds that Received Special Financial Assistance (“Scheduling

Order”) [ECF No. 2195].

               5.      The Scheduling Order provides for a fact discovery deadline of May 24,

2024. See Scheduling Order at 2. On May 22, 2024, the parties stipulated to a two-week extension

of the fact discovery deadline to June 7, 2024. See May 22, 2024 Certification of Counsel

Submitting Stipulation Relating to Extension of Fact Discovery Deadline in SFA MEPP Litigation

Filed by Yellow Corporation. [ECF No. 3479].

               6.      The Scheduling Order also provides that the parties shall serve opening

expert witness reports no later than May 27, 2024, shall serve rebuttal expert reports no later than

June 17, 2024, and shall complete expert discovery, including all depositions of expert witnesses,

on or before July 12, 2024. See Scheduling Order at 2.

               7.      On May 23, 2024, the parties agreed to a two-week extension of the deadline

to serve opening expert reports under the Scheduling Order from May 27, 2024 to June 10, 2024

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and to a one-week extension of the deadline to serve rebuttal expert reports under the Scheduling

Order from June 17, 2024 to June 24, 2024.

               8.      On June 10, 2024, the Debtors served their affirmative expert reports on the

SFA MEPPs. See Notice of Service Regarding (I) Expert Report: Central States Pension Fund

By: John L. Spencer III & Robert T. Campbell of Hilco Valuation Services, LLC and (II) Expert

Report of Professor Amit Seru [ECF No. 3662].

               9.      On June 11, 2024, the parties stipulated to a further two-week extension of

the fact discovery deadline to June 21, 2024 as it relates to certain previously served discovery

requests and deposition notices, as well as certain extensions relating to deposition topics directed

towards Debtors. See June 11, 2024 Certification of Counsel Submitting Stipulation Relating to

Extension of Fact Discovery Deadline in SFA MEPP Litigation [ECF No. 3663].

               10.     Then, on June 20, 2024, the parties stipulated to further extensions of the

fact and expert discovery deadlines, including an extension of fact discovery to June 28, 2024. See

June 20, 2024 Certification of Counsel Submitting Stipulation Relating to Extension of Fact and

Expert Discovery Deadlines in SFA MEPP Litigation [ECF No. 3712]. Since that time the parties

have continued to make progress but require more time to complete fact discovery. To that end,

the parties have stipulated to an extension of the fact discovery deadline from June 28, 2024 to

July 24, 2024. (“Stipulation”).

               11.     The Stipulation is attached as Exhibit 1.

               12.     Pursuant to Paragraph 8 of the Scheduling Order, the parties are providing

notice of their agreement to modify certain dates through this filing, and no further action is

required by the Court at this time.




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Dated: June 29, 2024
Wilmington, Delaware

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                       Exhibit 1

                       Stipulation




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      ) Chapter 11
                                                                )
    YELLOW CORPORATION, et al.,2                                ) Case No. 23-11069 (CTG)
                                                                )
                           Debtors.                             ) (Joint Administration Requested)
                                                                )


     STIPULATION RELATING TO EXTENSION OF FACT DISCOVERY DEADLINE


             This stipulation (“Stipulation”) is made and entered into by and among the above-

captioned debtors and debtors in possession (collectively, the “Debtors”); Central States,

Southeast and Southwest Areas Pension Fund (“CSPF”); and Freight Drivers and Helpers 557

Pension, International Association of Motor City Machinists Pension Fund, Management Labor

Pension Fund Local 1730, Mid-Jersey Trucking Industry & Teamsters Local 701 Pension and

Annuity Fund, New York State Teamsters Conference Pension & Retirement Fund, Road Carriers

Local 707 Pension Fund, Teamsters Local 617 Pension Plan, Teamsters Local 641 Pension Plan,

Trucking Employees of North Jersey Pension Fund, and Western Pennsylvania Teamsters and

Employers Pension Fund (collectively, the “SFA MEPPs,” and together with the Debtors and

CSPF, the “Parties”). The Parties hereby stipulate and agree as follows:

                   1.     On or before the claims bar date, CSPF and the SFA MEPPs collectively

filed 195 proofs of claim against the Debtors based on the Debtors’ alleged withdrawal liability,

among other things (the “Proofs of Claim”).




2
         A complete list of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
Park, Kansas 66211.

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               2.     On December 8, 2023, the Debtors filed an objection to CSPF’s proofs of

claim. See Objection to the Proofs of Claim Filed by the Central States Pension Fund (“First

Objection”) [ECF No. 1322].

               3.     On January 26, 2024, the Debtors filed an objection to the SFA MEPPs’

proofs of claim. See Second Omnibus (Substantive) Objection to Proofs of Claim For Withdrawal

Liability (“Second Objection,” and together with CSPF Objection, the “Objections”) [ECF No.

1962].

               4.     On February 14, 2024, the Court entered an agreed scheduling order the

Parties submitted in connection with the Objections and to establish deadlines for fact discovery,

expert discovery, pre-trial briefing and motions, and trial. See Order Scheduling Certain Dates

and Deadlines in Connection with the Debtors’ Objections to Proofs of Claim Filed by the Pension

Funds that Received Special Financial Assistance (“Scheduling Order”) [ECF No. 2195].

               5.     The Scheduling Order provides that the parties shall complete fact

discovery, including all depositions of fact witnesses, on or before May 24, 2024. See Scheduling

Order at 2.

               6.     On April 26, 2024 the Debtors served a Rule 30(b)(6) deposition notice on

CSPF and scheduled CSPF’s deposition for May 23, 2024. See Debtors’ Rule 30(b)(6) Deposition

Notice to Central States Pension Fund (“CSPF Deposition Notice”) [ECF No. 3190].

               7.     On April 26, 2024, the Debtors served Rule 30(b)(6) deposition notices on

the SFA MEPPs, and scheduled those depositions to take place on or before the fact discovery

deadline of May 24, 2024.

               8.     On May 15, 2024, CSPF served a Rule 30(b)(6) deposition notice on the

Debtors and scheduled Debtors’ deposition for May 22, 2024. See Notice of Rule 30(b)(6)

Deposition (“First Yellow Deposition Notice”) [ECF No. 3399].

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              9.      On May 16, 2024, CSPF sent a letter to Debtors objecting to multiple of the

topics set forth in the CSPF Deposition Notice and requesting that CSPF and Debtors meet and

confer on these disputes (“Objection Letter”).

              10.     On May 17, 2024, the SFA MEPPs served a Rule 30(b)(6) deposition notice

on the Debtors and scheduled Debtors’ deposition for May 24, 2024 (“Second Yellow Deposition

Notice”). See Notice of Rule 30(b)(6) Deposition [ECF No. 3421].

              11.     On May 20, 2024, the Debtors took the deposition of New York State

Teamsters Conference Pension & Retirement Fund. The remaining SFA MEPPs are currently

working to complete their document productions and also to complete declarations in an effort to

provide information requested by the Debtors in an efficient way.

              12.     On May 22, 2024, the parties stipulated to a two-week extension of the fact

discovery deadline to June 7, 2024. See May 22, 2024 Certification of Counsel Submitting

Stipulation Relating to Extension of Fact Discovery Deadline in SFA MEPP Litigation Filed by

Yellow Corporation. [ECF No. 3479].

              13.     On May 23, 2024, the parties agreed to a two-week extension of the deadline

to serve opening expert reports under the Scheduling Order from May 27, 2024 to June 10, 2024

and to a one-week extension of the deadline to serve rebuttal expert reports under the Scheduling

Order from June 17, 2024 to June 24, 2024.

              14.     On June 6, 2024, Debtors took the deposition of CSPF.

              15.     On June 10, 2024, Debtors served written expert reports upon CSPF and

upon the SFA MEPPs. See Notice of Service Regarding (I) Expert Report: Central States Pension

Fund By: John L. Spencer III & Robert T. Campbell of Hilco Valuation Services, LLC and (II)

Expert Report of Professor Amit Seru [ECF No. 3662].



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               16.     On June 11, 2024, the parties stipulated to a further two-week extension of

the fact discovery deadline to June 21, 2024 as it relates to certain previously served discovery

requests and deposition notices. See June 11, 2024 Certification of Counsel Submitting Stipulation

Relating to Extension of Fact Discovery Deadline in SFA MEPP [ECF No. 3663]. In the June 11,

2024 stipulation, the parties further agreed that, to the extent that Debtors have designated Hilco

Global as their corporate representative in connection with certain topics listed in the First Yellow

Deposition Notice and the Second Yellow Deposition Notice, the parties may schedule such

corporate representative depositions on such topics to occur on or before the close of expert

discovery.

               17.     On June 20, 2024, the parties stipulated to further extensions of the fact and

expert discovery deadlines, including an extension of fact discovery to June 28, 2024. See June

20, 2024 Certification of Counsel Submitting Stipulation Relating to Extension of Fact and Expert

Discovery Deadlines in SFA MEPP Litigation [ECF No. 3712].

               18.     The Parties continue to meet and confer with respect to the Rule 30(b)(6)

notices served on the Debtors and the remaining SFA MEPPs, and with respect to certain document

production issues.

               19.     The Parties agree to extend the time for fact discovery solely with respect

to discovery requests and deposition notices that the Parties previously served pursuant to the

Scheduling Order to July 24, 2024. For the avoidance of doubt, the Parties agree that no new

discovery requests or deposition notices may be served by the Parties in connection with this

Stipulation. Also, the Parties may not serve additional Rule 30(b)(6) deposition topics, but they

may revise existing topics as agreed to in their meet and confer meetings.

               20.     The Parties further agree that, to the extent they are unable to resolve any

disputes as to previously noticed depositions, including the scope or timing of such depositions,

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the Parties may schedule such depositions to occur after this Court has ruled on any motions to

compel or quash, even to the extent such depositions are scheduled for after July 24, 2024.

               21.     The Parties further agree that, to the extent that Debtors have designated

Hilco Global as their corporate representative in connection with certain topics listed in the First

Yellow Deposition Notice and the Second Yellow Deposition Notice, the Parties may schedule

such corporate representative depositions on such topics to occur on or before the close of expert

discovery on July 24, 2024.

               22.     All rights, claims, and defenses of the Parties with respect to the Proofs of

Claim and Objections are fully preserved.

               23.     The Parties represent and warrant to each other that the signatories to this

Stipulation have the full power and authority to enter into this Stipulation.

               24.     The Bankruptcy Court will have jurisdiction to resolve any disputes or

controversies arising from or relating to this Stipulation.

       WHEREFORE, the undersigned have executed this Stipulation on behalf of the Parties.

Dated: June 29, 2024

/s/ Peter J. Keane
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